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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                   JONESBORO DIVISION

OLD ST. PAUL MISSIONARY
BAPTIST CHURCH                                                                 PLAINTIFF

v.                                      3:07CV00043-WRW

FIRST NATION INSURANCE GROUP; et al.                                           DEFENDANTS

                                                 ORDER

        Plaintiff’s Amended Motion for Leave to File First Amended Complaint (Doc. No. 53) is

GRANTED, since Defendants did not object and the time for doing so has passed. Accordingly,

Plaintiff must file the Amended Complaint that was attached to the motion by 5 p.m., Thursday,

September 20, 2007.

        Plaintiff’s Motion for Leave to File First Amended Complaint (Doc. No. 50) is DENIED as

MOOT, since the Amended Motion for Leave to File First Amended Complaint was granted.

        Defendants’ Motion for Leave to File Amended and Substituted Answer (Doc. No. 34) is

DENIED without prejudice. An amended answer may be filed after Plaintiff files its Amended

Complaint.

        Plaintiff’s Motion to Strike Answer to Complaint (Doc. No. 9) is DENIED without prejudice,

since Defendants will file an Amended Answer after Plaintiff files the Amended Complaint.

        Plaintiff’s Motion to Extend Time for Service (Doc. No. 40) is DENIED. It seems to me that

Plaintiff can perfect service with the Amended Complaint.

        Plaintiff’s Motion to Remand to State Court (Doc. No. 9) is WITHDRAWN based on

Plaintiff’s June 1, 2007 letter to the Court.1

        IT IS SO ORDERED this 13th day of September, 2007.


                                                     /s/ Wm. R. Wilson, Jr._____________
                                                     UNITED STATES DISTRICT JUDGE




        1
         Doc. No. 29, Ex. 1.
